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Attorneys for Defendants

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RITANI, LLC,
                                   Plaintiff,
                                                      Case No.
                     - against -
                                                      11-CV-8928 (RWS) (GWG)
HAROUT AGHJAYAN; HAROUT R, LLC; H. RITANI,
                                                    ORAL ARGUMENT
INC.; H. RITANI, LLC; H. RITANI, CORP.; and AMAZING
                                                    REQUESTED
SETTINGS, LLP,
                                      Defendants.

               NOTICE OF MOTION TO DISMISS COMPLAINT

MOTION BY:                         Defendants

PLACE, DATE & TIME                 March 14, 2012 at 12:00 p.m.
OF HEARING:                        U.S. District Court for the Southern
                                   District of New York, 500 Pearl Street
                                   New York, NY 10007

RELIEF SOUGHT:                     Order dismissing the complaint pursuant to
                                   Fed. R. Civ. P. 12(b)(1) and (6) and
                                   attorneys’ fees pursuant to 17 U.S.C. §505.

PAPERS IN SUPPORT
OF MOTION:                         Affidavit of Harout Aghjayan sworn to on
                                   February 1, 2012, and the exhibits annexed
                                   thereto

DATE OF NOTICE OF MOTION:          February 6, 2012
PAPERS IN OPPOSITION
TO MOTION:             Opposing papers, if any, are required to be
                       served on the undersigned by February 21,
                       2012

                       Reply papers due February 28, 2012

NOTICE OF MOTION
ADDRESSED TO:          EDWARDS WILDMAN PALMER LLP
                       750 Lexington Avenue
                       New York, New York 10022
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NOTICE OF MOTION
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